
19 N.Y.2d 786 (1967)
Otto Schreiber, Appellant,
v.
Philip &amp; Morris Restaurant Corp., Respondent.
Court of Appeals of the State of New York.
Argued February 20, 1967.
Reargument ordered February 28, 1967.
Reargued April 3, 1967.
Decided April 6, 1967.
Harvey Goldstein, Meyer Schiff, Charles H. Sterenfeld and Alan J. Sterenfeld for appellant.
William F. McNulty for respondent.
Concur: Judges VAN VOORHIS, BURKE, SCILEPPI and FANELLI[*]. Chief Judge FULD and Judges BERGAN and KEATING dissent and vote to reverse and to direct a trial of the issue.
Order affirmed, without costs, upon the opinion at the Appellate Division; no opinion.
NOTES
[*]  Designated pursuant to section 2 of article VI of the State Constitution in the temporary absence of Judge Breitel.

